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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


                                         :
SECURITIES AND EXCHANGE COMMISSION, :
                                         :                 CIVIL ACTION
                Plaintiff,               :
                                         :                 Case No.: 2:18-139-JDL
     v.                                  :
                                         :
MICHAEL A. LIBERTY; BRITTANY LIBERTY; :
PAUL HESS; RICHARD LIBERTY;              :
GEORGE J. MARCUS;                        :
MOZIDO INVESCO, LLC;                     :
FAMILY MOBILE, LLC; BRTMDO, LLC          :
BRENTWOOD FINANCIAL, LLC; and            :
TL HOLDINGS GROUP, LLC                   :
                                         :
                        Defendants,      :
                                         :
     and                                 :
                                         :
XANADU PARTNERS, LLC                     :
                                         :
                        Relief Defendant :
                                         :


                 LIBERTY DEFENDANTS’ FOURTH STATUS REPORT

       COME NOW, Defendants Michael A. Liberty, Mozido Invesco, LLC, Family Mobile,

LLC, BRTMDO, LLC, Brentwood Financial, LLC, and TL Holdings Group, LLC (the “Liberty

Defendants”), by and through their undersigned attorneys, and pursuant to the Court’s August 8,

2019 Order on Defendants’ Fourth Motion to Stay Civil Proceedings (ECF No. 73), hereby

provide the following Status Report on the progress of the criminal case against Messrs. Liberty

and Hess.

       Due to the COVID-19 pandemic, on February 24, 2020 the Court (Singal, J.) continued

Mr. Liberty’s criminal trial until April, 2021. See Speedy Trial Order, Docket No. 2:19-cr-
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00030-GZS, ECF No. 159. Jury selection remains scheduled for April 5, 2021, with trial

commencing on April 26, 2021 and lasting for five weeks. See Amended Trial Scheduling

Order, Docket No. 2:19-cr-00030-GZS, ECF No. 161. The Court has informed the parties that

the trial dates are firm and will not be continued. That said, the impact, if any, of the public

health crisis on the trial schedule going forward remains unknown.

       Dated at Portland, Maine this 3rd day of November, 2020.

                                            /s/     Thimi R. Mina
                                                    Thimi R. Mina

                                            /s/     Jay P. McCloskey
                                                    Jay P. McCloskey

                                            /s/     Alfred C. Frawley IV
                                                    Alfred C. Frawley IV

                                                    McCloskey, Mina, Cunniff & Frawley, LLC
                                                    12 City Center
                                                    Portland, Maine 04101
                                                    (207) 772-6805
                                                    (207) 879-9375
                                                    tmina@lawmmc.com
                                                    jmccloskey@lawmmc.com
                                                    afrawley@lawmmc.com

                                            PRO HAC VICE:

                                            /s/     Jay A. Dubow
                                                    Jay A. Dubow

                                            /s/     Richard J. Zack
                                                    Richard J. Zack

                                            /s/     Abigail A. Hazlett
                                                    Abigail A. Hazlett

                                            /s/     Craig G. Steen
                                                    Craig G. Steen

                                                    Pepper Hamilton LLP
                                                    18th and Arch Streets, Two Logan Square



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                                           Philadelphia, Pennsylvania 19103
                                           (215) 981-4000
                                           (215) 981-4750
                                           dubowj@pepperlaw.com
                                           zackr@pepperlaw.com
                                           hazletta@pepperlaw.com
                                           steenc@pepperlaw.com

                                           Attorneys for Defendants Michael A. Liberty,
                                           Mozido Invesco, LLC, Family Mobile, LLC,
                                           BRTMDO, LLC, Brentwood Financial, LLC
                                           and TL Holdings Group, LLC




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                                CERTIFICATE OF SERVICE

       I, Alfred C. Frawley IV, hereby certify that on this November 3, 2020, I caused the

foregoing LIBERTY DEFENDANTS’ FOURTH STATUS REPORT to be filed with the

Court’s CM/ECF system, which will send notification of this filing to all counsel of record.

       Dated at Portland, Maine this 3rd day of November, 2020.



                                             /s/     Alfred C. Frawley IV
                                                     Alfred C. Frawley IV

                                                     McCloskey, Mina, Cunniff & Frawley, LLC
                                                     12 City Center
                                                     Portland, Maine 04101
                                                     (207) 772-6805
                                                     (207) 879-9375
                                                     afrawley@lawmmc.com

                                                     Attorneys for Defendants Michael A. Liberty,
                                                     Mozido Invesco, LLC, Family Mobile, LLC,
                                                     BRTMDO, LLC, Brentwood Financial, LLC
                                                     and TL Holdings Group, LLC




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